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 4
     Attorney for Defendant
 5   SARAH MATTSON
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                          ) Case No. CR S 08-CR-0093 KJM
12                                                      )
                                 Plaintiff,             )
13                                                      ) APPLICATION TO EXONERATE
             vs.                                        ) BAIL AND ORDER
14                                                      )
                                                        )
15                                                      )
     SARAH MATTSON, et. al.                             )
16                                                      )
                                 Defendants.            )
17                                                      )
18

19          Defendant, SARAH MATTSON, by and through undersigned counsel, applies for
20   an order from this court exonerating the bail posted to secure her release in this case.
21   Defendant is making this application on the ground that the lien in favor of the Clerk of
22   Court on the real property posted to secure defendant’s release has not been
23   extinguished and remains a cloud on title.

24   Dated: January 25, 2016                        Respectfully submitted,
25                                                  WISEMAN LAW GROUP, P.C.
26
                                                    By: __/s/ Joseph J. Wiseman__
27                                                        JOSEPH J. WISEMAN

28                                                          Attorney for Subpoenaed Witness
                                                            SARAH MATTSON
     ____________________________________________________________________________________________________
     Application for Order to Exonerate Bail               1                                CR S 08-0093 KJM
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 1
                                                   ORDER
 2
     GOOD CAUSE having been shown, IT IS HEREBY ORDERED THAT the bail posted in
 3

 4   this case to secure the defendant’s release is EXONERATED.

 5   Dated: January 28, 2016
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     Application for Order to Exonerate Bail               2                                CR S 08-0093 KJM
